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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    JERRAL MADISON, individually and on behalf of
    all others similarly situated,
         Plaintiff,                                           Civil Action No.
                               v.                            1:22-cv-04856-SDG
    SYSCO ATLANTA, LLC,
         Defendant.

                                      ORDER

         This matter is before the Court on Plaintiff Jerral Madison’s unopposed

motion for settlement approval of this collective action under the Fair Labor

Standards Act (FLSA) [ECF 36] and his responses to the Court’s questions thereto

[ECF 40]. One of those questions concerned the propriety of allowing non-named

putative plaintiffs to opt in to an already-negotiated FLSA settlement. 1 Even after

reviewing Madison’s response, the Court remains skeptical that the opt-in

mechanism contemplated by the parties’ proposed settlement agreement is

consistent with Eleventh Circuit law barring “totally uninvolved employees” from

“gaining recovery as a result of some third party’s [FLSA suit].” Cameron-Grant v.

Maxim Healthcare Servs., Inc., 347 F.3d 1240, 1248 (11th Cir. 2003). Furthermore, the

Court is skeptical that an FLSA collective action can be certified for purposes of

settlement, through a stipulation that all collective members are “similarly


1     ECF 39, at 1.


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situated,” 2 before all of those members have been identified. See Anderson v. Cagle’s,

Inc., 488 F.3d 945, 952 (11th Cir. 2007) (requiring plaintiffs to show that they are

“similarly situated” to maintain an FLSA collective action).

      Fortunately, Madison has indicated his willingness, pending any objection

from Defendant Sysco Atlanta, LLC, “to defer final approval of the settlement and

dismissal of the action until after the close of the proposed opt-in period.”3 Because

Sysco has not objected,4 the Court takes Madison up on his offer. His motion for

settlement approval [ECF 36] is DENIED without prejudice. If Madison wishes to

continue seeking the settlement of this suit as a collective action, he is DIRECTED

to do so in accordance with the procedural requirements of the FLSA, in a way

that reflects the “active participation” of all plaintiffs who agree to be bound by

the judgment in this case. Cameron-Grant, 347 F.3d at 1249.

      SO ORDERED this 14th day of August 2024.




                                                       Steven D. Grimberg
                                                    United States District Judge




2   ECF 37, at 2.
3   ECF 40, at 3.
4   Sysco’s response to the Court’s questions were due by August 5, 2024. ECF 39,
    at 2.


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